Case 15-21813 Doc 39 Filed 03/10/16 Entered 03/10/16 14:39:58 Page1of 70

 

Fill in this information to identify your case and this filing:

 

Debtor 1 Thomas D. Renison

First Name Middle Name Last Name
Debtor 2 _
(Spouse, if filing) First Name — ~ Middle Name Last Name

United States Bankruptcy Court forthe: DISTRICT OF CONNECTICUT

Case number 15-21813 @ Check if this is an
amended filing

Official Form 106A/B
Schedule A/B: Property 12115

 

 

In each category, separately list and describe items. List an asset only once. If an asset fits In more than one category, list the asset in the category where you
think It fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
Information. If more space Is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known).
Answer every question.

Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an interest In

4. Do you own or have any legal or equltable interest in any residence, building, land, or similar property?

D No. Go to Part 2.
I ves. Where is the property?

11 What is the property? Check all that apply
5767 Deauville Circle

_ HB Single-family home Do not deduct secured claims or exemptions. Put
Street address, if available, or other description ‘unit buildl the amount of any secured claims on Schedule D:
[Duplex or multi-unit building Creditors Who Have Claims Secured by Property.
Condominium or cooperative
Oo
(1 Manufactured or mobile home
Current value of the Current value of the
Naples FL 34112-0000 0 Land entire property? portion you own?
Clty State ZIP Code C1 Investment property $176,000.00 ___ $88,000.00
L] Timeshare Describe the nature of your ownership interest
O other _ _ _ (such as fee simple, tenancy by the entireties, or
Who has an Interest In the property? Chack one -—=- life estate), if known.
0 bebtor 1 only _
Collier O Debtor 2 only
Counly 1 Debtor 4 and Debtor 2 only

o Check if this is community property

Hl Atleast one of the debtors and another (see instructions)

Other Information you wish to add about this Item, such as local
property identification number:

being foreclosed on

|
$88,000.00 |

2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for
pages you have attached for Part 1. Write that number Nere..........cssssssssseesnseereereeseetsente ra =>

 

-Flaee Describe Your Vehicles

 

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles you own that
someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

HNo
C1 Yes

Official Form 106A/B Schedule A/B: Property page 1
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Debtor1 Thomas D. Renison Case number (ifknown) 15-21813

4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

No
DO Yes

5 Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for
.pages you have attached for Part 2. Write that number here..........sccccscssssscssssssevssssssssesssesseessssseceseaaes => $0.00

Describe Your Personal and Household Items
Do you own or have any legal or equitable interest in any of the following items?

Current value of the
portion you own?
Do not deduct secured
claims or exemptions.
6. Household goods and furnishings
Examples: Major appliances, furniture, linens, china, kitchenware

HNo
DO Yes. Describe.....

7. Electronics
Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music collections; electronic devices
including cell phones, cameras, media players, games

HNo
O Yes. Describe...

8. Collectibles of value
Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; stamp, coin, or baseball card collections;
other collections, memorabilia, collectibles

HINo
DO Yes. Describe.....

9. Equipment for sports and hobbies
Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and kayaks; carpentry tools;
musical instruments

HNo
C1 Yes. Describe.....

10. Firearms
Examples: Pistols, rifles, shotguns, ammunition, and related equipment

HI No
C Yes. Describe...

11. Clothes
Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories

HNo
0 Yes. Describe.....
12. Jewelry ; ;
Examples; Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold, silver
HNo
1 Yes. Describe.....

13. Non-farm animals
Examples: Dogs, cats, birds, horses

HNo
(1 Yes. Describe...

14. Any other personal and household items you did not already list, including any health aids you did not list
HI No
C1 Yes. Give specific information...

Official Form 106A/B Schedule A/B: Property page 2

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Case 15-21813 Doc 39 Filed 03/10/16 Entered 03/10/16 14:39:58 Page 3of 70

Debtor1 Thomas D. Renison Case number (ifknown) 15-21813 _

15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached

for Part 3. Write that mUMber here ........:cccccseeeeseseettesssnnecnssesnneaenes ‘ $0.00

Describe Your Financial Assets

Do you own or have any legal or equitable interest in any of the following? Current value of the
portion you own?
Do not deduct secured
claims or exemptions.

16. Cash
Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition

HI No

17.. Deposits of money
Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses, and other similar
institutions. If you have multiple accounts with the same institution, list each.

HNo
DD Yes.i..cceccceereees Institution name:

18. Bonds, mutual funds, or publicly traded stocks
Examples: Bond funds, investment accounts with brokerage firms, money market accounts

Hi No
O Yes Institution or issuer name:

19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in an LLC, partnership, and
joint venture

HI No

C1 Yes. Give specific information about them..........2..0.«
Name of entity: % of ownership:

20. Government and corporate bonds and other negotiable and non-negotiable instruments
Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.

HNo

C Yes. Give specific information about them
Issuer name:

21. Retirement or pension accounts
Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans

Hi No

O Yes. List each account separately.
Type of account: Institution name:

22. Security deposits and prepayments
Your share of all unused deposits you have made so that you may continue service or use from a company
Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or others

BNo
DI YES, ceccccccseesceseereee Institution name or individual:

23. Annuities (A contract for a periodic payment of money to you, either for life or fora number of years)

HNo
0 Yes Issuer name and description.

24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).

HI No
O Yes Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable for your benefit
BNo
C1 Yes. Give specific information about them...

Official Form 106A/B Schedule A/B: Property page 3

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Debtor1 Thomas D.Renison  _ Case number (ifknown) 1415-21813

26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
Examples: Internet domain names, websites, proceeds from royalties and licensing agreements

No
O Yes. Give specific information about them...

27. Licenses, franchises, and other generat intangibles
Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses

No
C1 Yes. Give specific information about them...

Money or property owed to you? Current value of the
portion you own?
Do not deduct secured
claims or exemptions.

28. Tax refunds owed to you
Ml No
C1 Yes. Give specific information about them, including whether you already filed the returns and the tax years.......

29. Family support
Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement

Hi No
0 Yes. Give specific information......

30. Other amounts someone owes you
Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation, Social Security
benefits; unpaid loans you made to someone else

No
C1 Yes. Give specific information.

31. Interests in insurance policies
Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner's, or renter’s insurance

No

CO Yes. Name the insurance company of each policy and list its value.
Company name: Beneficiary: Surrender or refund
value:

32. Any interest in property that is due you from someone who has died
If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive property because
someone has died.

No
0 Yes. Give specific information..

33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
Examples: Accidents, employment disputes, insurance claims, or rights to sue

BNo
0 Yes. Describe each claim.........

34, Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off claims
MNo
O Yes. Describe each claim.........

35. Any financial assets you did not already fist
MNo

1 Yes. Give specific information.

36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached $0.00
for Part 4. Write that number here is srs teeeancarerarasnnnneseas _ .

 

Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

Official Form 106A/B Schedule A/B: Property page 4
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Case 15-21813 Doc 39 Filed 03/10/16 Entered 03/10/16 14:39:58

Fillin this information to identify your case:

 

Debtor 1 Thomas D. Renison
First Name — Middle Name ~~ Last Name >
Debtor 2 =
| (Spouse if, filing) First Name Middle Name — Last Name 7

| United States Bankruptcy Court forthe: © DISTRICT OF CONNECTICUT

Case number 15-21813

(if known)

L

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property

Page 5 of 70

Hi Check if this is an
amended filing

12/15

Be as complete and accurate as possible. If two martled people are filing together, both are equally responsible for supplying correct Information. If more space
ls needed, copy the Additional Page, fill It out, number the entries, and attach It to this form. On the top of any additional pages, write your name and case

number (if known).
1. Do any creditors have claims secured by your property?

01 No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.

I Yes. Fill in all of the information below.
EXER List All Secured Claims

2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately Conn Galan & Colin
for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2. As Amount of claim Value of collateral Unsecured
much as possible, list the claims in alphabetical order according to the creditor's name. Do not deduct the that supports this portion
value of collateral. claim If any
2.1 | HSBC Mortgage Services Describe the property that secures the claim: $240,274.23 $176,000.00 $64,274.23

Creditor's Name 5767 Deauville Circle Naples, FL
34112 Collier County

being foreclosedon |
As of the date you file, the claim is: Check all that

 

Customer Care

 

P.O. Box 3425 oo
Buffalo, NY 14240 C1 contingent
Number, Street, City, State & Zip Code O Unliquidated
a) Disputed
Who owes the debt? Check one. Nature of lien. Check all that apply.
0 Debtor 1 only Olan agreement you made (such as mortgage or secured
D Debtor 2 only car loan)
C1 Debtor 1 and Debtor 2 only oO Statutory lien (such as tax lien, mechanic's lien)
Wl At least one of the debtors and another EI Judgment lien from a lawsuit
C1 Check if this claim relates to a I other (including a right to offset) Mortgage
community debt SSS => =
Date debt was incurred 05/1 9/2006 Last 4 digits of account number
Add the dollar value of your entries in Column A on this page. Write that number here: — $240,274.23
If this is the last page of your form, add the dollar value totals from all pages. $240,274.23 |

Write that number here:

[GER List Others to Be Notified for a Debt That You Already Listed

 

Use this page only if you have others to be notifled about your bankruptcy for a debt that you already listed In Part 1. For example, if a collection agency is
trylng to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collectlon agency here. Similarly, if you have more
than one creditor for any of the debts that you listed In Part 1, list the additional creditors here. If you do not have additional persons to be notifled for any

debts in Part 1, do not fill out or submit this page.

U Name, Number, Street, City, State & Zip Code On which line in Part 1 did you enter the creditor? 2.1

Hunt Leibert Jacobson, PC
50 Weston Street Last 4 digits of account number __
Hartford, CT 06120

Official Form 106D Schedule D: Creditors Who Have Claims Secured by Property
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Debtor 1 Thomas D. Renison _ ; Case number (if known) 15-21813

37, Do you own or have any legal or equitable interest In any business-related property?
No. Go to Part 6.
DO Yes. Go to line 38.

irtacm Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
If you own or have an interest in farmland, list it in Part 1.

46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
HH No. Go to Part 7.

O yes. Go to line 47.

Describe All Property You Own or Have an Interest In That You Did Not List Above
53. Do you have other property of any kind you did not already list?
Examples: Season tickets, country club membership
HNo
C1 Yes. Give specific information.........

54. Add the dollar value of all of your entries from Part 7. Write that number here. ..........:scsccssenessenseees $0.00 |

List the Totals of Each Part of thls Form

 

55. Part 1: Total real estate, lime 2 .......ssccssssssccscseceecesessssessesssccessnensentscossesecsssesoessssenusecsaunecestssseneusaueneusessaenssnnaes $88,000.00
56. Part 2: Total vehicles, line 5 «$0.00

57. Part 3: Total personal and household items, line 15 ____ $0.00

58. Part 4: Total financial assets, line 36 a $0.00

59. Part 5: Total business-related property, line 45 __ $0.00

60. Part 6: Total farm- and fishing-related property, line 52 ___ $0.00

61. Part 7: Total other property not listed, line 54 + $0.00

62. Total personal property. Add lines 56 through 61... — $0.00 Copy personal property total _ $0.00
63. Total of all property on Schedule A/B. Add line 55 + line 62 $88,000.00
Official Form 106A/B Schedule A/B: Property page 5

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Case 15-21813 Doc 39 Filed 03/10/16 Entered 03/10/16 14:39:58 Page 7 of 70

Fill in this information to identify your case:

Debtor 1 Thomas D. Renison  __
| First Name Middle Name Last Name
| Debtor 2
(Spouse if, filing) First Name “Middle Name Last Name

| United States Bankruptcy Court forthe: © DISTRICT OF CONNECTICUT

Case number 15-21813

(if known)

Mi Check if this is an
amended filing

Official Form 106H
Schedule H: Your Codebtors 12/15

 

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married
people are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page,
fill it out, and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write
your name and case number (if known). Answer every question.

4. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.

0 No
i ves

2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

HE No. Go to line 3.
C1 Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?

3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person shown
in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on Schedule D (Official
Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D, Schedule E/F, or Schedule G to fill
out Column 2.

Column 1: Your codebtor Column 2: The creditor to whom you owe the debt
Name, Number, Street, City, Stale and ZIP Code Check all schedules that apply:
3.1. Anne Leith aka Anne Leithe 0 Schedule D, line
deceased OD Schedule E/F, line
OScheduleG
HSBC Mortgage Services
3.2 MaryAnne Renison HW Schedule D, line 2.1
58 Old Farms Road CO Schedule E/F, line
Glastonbury, CT 06033 oO Schedule G

HSBC Mortgage Services

Official Form 106H Schedule H: Your Codebtors Page 1 of 1

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